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     POSHMARK, INC.
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 8
                          UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10
11   TEXKHAN, INC., a California            Case No. 2: 19-cv-02850-DMG-JC
     Corporation, individually and doing
12   business as HYUP SUNG T.R.D.,          DEFENDANT POSHMARK, INC.’S
                                            CORPORATE DISCLOSURE
13               Plaintiff,                 STATEMENT PURSUANT TO FED.
                                            R. CIV. P. 7.1
14   vs.
15   EN CREME, an unknown business
     entity; POSHMARK, INC., a Delaware
16   Corporation, doing business as
     POSHMARK; PROMGIRL, LLC, a
17   New York Limited Liability Company,
     doing business as THISGIRL; and
18   DOES 1 through 50,
19               Defendants.
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 1        POSHMARK, INC.’S CORPORATE DISCLOSURE STATEMENT
 2                            PURSUANT TO FED. R. CIV. P. 7.1
 3         Pursuant to Rule 7.1(a), Fed. R. Civ. P, Defendant Poshmark, Inc. hereby
 4   discloses that (1) it has no parent company and (2) no publicly held corporation
 5   owns 10% or more of its stock.
 6
 7   Dated:      May 13, 2019                     Respectfully submitted,
 8
                                                  By: /s/ Natasha E. Daughtrey
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15                                                Poshmark, Inc.
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